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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

QORVO, INC.,                                     )
                                                 )
                       Plaintiff,                )
                                                 )
        v.                                       )   C.A. No. 21-1417 (JPM)
                                                 )
AKOUSTIS TECHNOLOGIES, INC. and                  )   DEMAND FOR JURY TRIAL
AKOUSTIS, INC.,                                  )
                                                 )
                       Defendants.               )


              DECLARATION OF TIMOTHY P. CREMEN IN SUPPORT OF
              PLAINTIFF’S RESPONSIVE CLAIM CONSTRUCTION BRIEF

       I, Timothy P. Cremen, declare as follows:

       1.      I am an attorney at the law firm of Sheppard, Mullin, Richter & Hampton LLP

and counsel for Plaintiff in this matter. I am an active member of the Bar for the District of

Columbia and admitted pro hac vice to practice in the District of Delaware. I make this

Declaration based on personal knowledge and would testify competently to the matters herein if

called to do so.

       2.      Attached as Exhibit A18 is a true and correct copy of U.S. Patent No. 9,735,755

bearing Bates numbers QORVO_00024599-QORVO_00024615, which were produced by

Qorvo, Inc.

       3.      Attached as Exhibit A19 is a true and correct copy of U.S. Patent No. 10,256,786

bearing Bates numbers QORVO_00024616-QORVO_00024644, which were produced by

Qorvo, Inc.

       4.      Attached as Exhibit A20 is a true and correct copy of U.S. Provisional Patent

Application No. 62/360,904 bearing Bates numbers QORVO_00026377-QORVO_00026395,

which were produced by Qorvo, Inc.
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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on September 28, 2022.



                                              /s/ Timothy P. Cremen
                                             Timothy P. Cremen




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 28, 2022, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

September 28, 2022, upon the following in the manner indicated:

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